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                                    EXHIBIT LIST                      page _____1_____

Case # 2:16-cv-00344-RFB-PAL

Caption: GEORGINA FORD, individually and as Special Administrator of the Estate of MURRAY
D. FORD

Exhibits for: Defendant Nationstar Mortgage, LLC

Date        Date           Number          Witness         Description
Marked      Admitted
                           501                             Plaintiffs’ Original Note (Exhibit A
                                                           to MSJ)




                           502                             Nationwide Title Clearing
                                                           Assignment Verification Report
                                                           (NAT00214-234)




                           503                             US Bankruptcy Court, District of
                                                           Nevada, Notice of Bankruptcy Case
                                                           Filing (11/15/2009) (Exhibit A to
                                                           Complaint)




                           504                             Summary of Loan Modification
                                                           (4/19/2010) (NAT00050)




                           505                             Loan Modification (NAT00054) US
                                                           Bankruptcy Court, District of
                                                           Nevada, Discharge of Debtor After
                                                           Completion of Chapter 13 Plan
                                                           (03/22/2013)
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                                    EXHIBIT LIST                     page _____2_____

Case # 2:16-cv-00344-RFB-PAL

Caption: GEORGINA FORD, individually and as Special Administrator of the Estate of MURRAY
D. FORD

Exhibits for: Defendant Nationstar Mortgage, LLC

                           506                             Email Thread Concerning Proposed
                                                           Settlement with Nationstar (Depo.
                                                           Exhibit 5).




                           507                             Copy of Personal Check from
                                                           Murray Ford to Nationstar
                                                           Mortgage in the sum of $4,419.72
                                                           for January – April payments
                                                           (04/04/2015).



                           508                             09/09/2015 letter from L Chatman
                                                           to    Fords    re    receipt   of
                                                           correspondence (Depo. Exhibit 8).




                           509                             09/25/2015 Chatman letter to
                                                           Krieger (Depo. Exhibit 15).




                           510                             11/17/2015 Letter from Phillips to
                                                           Krieger (Depo. Exhibit 17).
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                                    EXHIBIT LIST                     page _____3_____

Case # 2:16-cv-00344-RFB-PAL

Caption: GEORGINA FORD, individually and as Special Administrator of the Estate of MURRAY
D. FORD

Exhibits for: Defendant Nationstar Mortgage, LLC

                           511                             Nationstar Policies Regarding
                                                           Escrows (Depo. Exhibit 10).




                           512                             Nationstar Control     Standards
                                                           (Depo. Exhibit 11).




                           513                             Collection History Profile (Depo.
                                                           Exhibit 12).




                           514                             Detail Transaction history (Depo.
                                                           Exhibit 13).




                           515                             Bank of America Change in Loan
                                                           Servicer to Nationstar Letter to
                                                           Fords (06/10/2013).
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                                    EXHIBIT LIST                     page _____4_____

Case # 2:16-cv-00344-RFB-PAL

Caption: GEORGINA FORD, individually and as Special Administrator of the Estate of MURRAY
D. FORD

Exhibits for: Defendant Nationstar Mortgage, LLC

                           516                             Settlement Agreement with Bank
                                                           of America (MSJ Exhibit C).




                           517                             Annual Escrow Account Disclosure
                                                           Statement (Depo. Exhibit 16)




                           518                             Notice of Changes from Nationstar
                                                           re Interest Rates (NAT00017-22).




                           519                             Statement dated 2/14 (NAT00033
                                                           and NAT00038).




                           520                             Statement dated 2014 (NAT00039-
                                                           40).




                           521                             Statement dated 2015 (NAT00041-
                                                           43).
      Case 2:16-cv-00344-RFB-PAL Document 84 Filed 05/10/18 Page 5 of 5



                                    EXHIBIT LIST                     page _____5_____

Case # 2:16-cv-00344-RFB-PAL

Caption: GEORGINA FORD, individually and as Special Administrator of the Estate of MURRAY
D. FORD

Exhibits for: Defendant Nationstar Mortgage, LLC

                           522                             Nationstar letter dated 7/28/2015
                                                           (NAT00243).




                           523                             Detailed Transaction History dated
                                                           05/10/2018.
